                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:                                                           Case No. 17-52483

PACKARD SQUARE LLC,                                              Chapter 11

            Debtor.                                              Judge Thomas J. Tucker
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                   ORDER SCHEDULING AN EVIDENTIARY HEARING
                  ON DEBTOR’S POST-PETITION FINANCING MOTION

        This case came before the Court for a hearing on September 13, 2017, on the Debtor’s
motion entitled “First Day Emergency Motion of the Debtor for Entry of Interim and Final
Orders (I) Authorizing Debtor to Obtain Post-Petition Financing, (II) Scheduling a Final
Hearing, and (III) Granting Certain Related Relief” (Docket # 13, the “DIP Financing Motion”).
Confirming action taken by the Court during the hearing, and for the reasons stated by the Court
on the record during the hearing,

         IT IS ORDERED that:

1. The Court will hold an evidentiary hearing on the DIP Financing Motion, limited to the issue
   of adequate protection as described by the Court during the September 13, 2017 hearing. The
   evidentiary hearing will be held on Tuesday, September 19, 2017 at 9:00 a.m.

2. The following time limits will apply in the evidentiary hearing. The Debtor and CAN IV
   Packard Square LLC (“Canyon”) each will have:

    a. a maximum 5 minutes for an opening statement;
    b. a maximum of 3 hours to present all evidence (direct and cross examination, and exhibits)
       and to argue any evidentiary objections; and
    c. a maximum of 10 minutes for a closing argument.1

3. No later than 5:00 p.m. on Friday, September 15, 2017, the Debtor and Canyon each must file
   and serve on the other a witness list, and an exhibit list, and must serve on the other (but not
   file) a copy of all marked exhibits2 that the party may seek to use in the evidentiary hearing.



         1
          If the Debtor and Canyon agree to changes in these time limits, they may so stipulate, and the
Court will consider the parties’ proposed changes.
         2
          The Debtor’s exhibits must be numbered; Canyon’s exhibits must be lettered; any joint
exhibits may be marked as joint exhibits, with numbering.



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Signed on September 14, 2017




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